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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                                 CIVIL ACTION NO.: 4:18-cv-299

        v.

 275 MILTON RAHN ROAD RINCON,
 GEORGIA 31326,

                Defendant.



                                           ORDER

       On December 14, 2018, Plaintiff United States of America (the “Government”) filed a

Verified Complaint for Civil Forfeiture In Rem against real property located at 275 Milton Rahn

Road, Rincon, Georgia 31326 (the “Defendant Property”). (Doc. 1.) Ingrid Lopez Tello (the

“Claimant”) subsequently filed an Answer claiming ownership of the Defendant Property and

opposing its forfeiture. (Doc. 5.) Presently before the Court is the Government’s Motion to Strike

Third-Party Claim Filed by Ingrid Lopez Tello, (doc. 20). Claimant has not responded to the

Motion. Due to the nature of this case and the interests at stake, the Court is reluctant to rule on

the Government’s Motion to Strike without providing Claimant an opportunity to respond or

advising Claimant of the consequences for failing to respond.

       Accordingly, the Court ORDERS Claimant to respond to the Government’s Motion to

Strike within twenty-one (21) days of this Order. Should Claimant Ingrid Lopez Tello fail to

comply with this Order, the Court will presume that Claimant does not oppose the

Government’s Motion and may dismiss her claim. See Local R. 7.5 (“Failure to respond . . .
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shall indicate that there is no opposition to a motion.”); see also United States v. $ 12,126.00 in

United States Currency, 337 F. App’x 818, 820 (11th Cir. 2009) (affirming district court’s

dismissal of third-party forfeiture claim where claimant did not comply with procedural rules).

       SO ORDERED, this 4th day of August, 2020.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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